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                           IN THE UNITED STATES DISTRICT COURT
                            FOR THE WESTERN DISTRICT OF TEXAS
                                   SAN ANTONIO DIVISION

  In re: ENXTAR ELLOPROP, LLC:                       §
                                                     §
        Debtor.                                      §
  ___________________________________                §              Case No. 23-518036-cag
                                                     §                    Chapter 11
  ENXTAR ELLOPROP, LLC,                              §
                                                     §
           Plaintiff,                                §
                                                     §
                                                     §
  v.                                                 §           Adversary No. 24-05004-cag
                                                     §
  MIDFIRST BANK, WILLIAM EARL                        §
  DEES AND ALESHA L. DEES                            §
                                                     §
           Defendants.                               §
                                                     §

                        DEFENDANT’S STATEMENT REGARDING CONSENT

           Defendant MidFirst Bank (“Defendant”), hereby files its Statement Regarding Consent in

  compliance with Federal Rule of Bankruptcy Procedure 7008 and the Order Requiring Consent

  dated June 11, 2024, and states as follows:

           1.     This is a core proceeding since the outcome of it will have a substantial effect on

  the administration and assets of the bankruptcy estate. Defendant consents to the entry of final

  orders or judgments by the Court in this adversary proceeding.




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                                                         Respectfully submitted,
                                                         /s/ Mark D. Cronenwett
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                                                          Facsimile: (214) 722-7111

                                                 ATTORNEYS FOR DEFENDANT MIDFIRST
                                                 BANK



                                    CERTIFICATE OF SERVICE

        The undersigned certifies that on June 14, 2024, a true and correct copy of the foregoing
  document was delivered via ECF Notification to the following:

      Via Regular US Mail
      Kenneth E. Grubbs
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      Attorneys for Plaintiff

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      Attorney for Debtor
                                                         /s/ Mark D. Cronenwett
                                                         MARK D. CRONENWETT




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  DEFENDANT’S STATEMENT REGARDING CONSENT                                                      Page 2 of 2
